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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS


JAY STEINMETZ, et al., individually and on
behalf of all others similarly situated,

               Plaintiff,                                  Civil Action No. __________

       v.

BEAVEX INCORPORATED and MARK
TUCHMANN,

               Defendants,


                                     NOTICE OF REMOVAL
       Defendants BeavEx Incorporated (“BeavEx”) and Mark Tuchmann (“Tuchmann”),

(collectively, “Defendants”), file this Notice of Removal in accordance with 28 U.S.C. §§ 1441

and 1446, and hereby remove this action from the Superior Court for the Commonwealth of

Massachusetts, Middlesex County (the “Superior Court Action”) to the United States District

Court for the District of Massachusetts. As their reasons for removal, Defendants state:

       1.      By Summons and Complaint, Jay Steinmetz (“Plaintiff” or “Steinmetz”)

commenced a civil action against Defendants in Middlesex County Superior Court titled Jay

Steinmetz, et al., individually and on behalf of all others similarly situated v. BeavEx
Incorporated and Marck Tuchmann, Docket No. 10-4168. True and correct copies of the

Summons and Complaint served by Steinmetz on Defendants are attached hereto as Exhibit A

and constitute all processes, pleadings and orders served upon Defendants in this action to the

present date. 28 U.S.C. § 1446(a).

       2.      Defendants were served with the Summons and Complaint in the Superior Court

Action on or about November 24, 2010. The instant Notice of Removal is being filed within 30

days of the date on which Defendants were served with a copy of the Complaint in the Superior

Court Action. 28 U.S.C. § 1446(b).
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       3.         This Court has diversity jurisdiction over the Complaint pursuant to 28 U.S.C.

§ 1332 because the parties are citizens of different states and the matter in controversy exceeds

the sum or value of $75,000, exclusive of interest and costs.

       4.         Steinmetz is a citizen of the Commonwealth of Massachusetts.

       5.         BeavEx is a Connecticut corporation with its principal place of business in

Atlanta, Georgia.

       6.         Tuchmann is a citizen of Connecticut.

       7.         Plaintiff seeks restitution for wages, overtime and other benefits, reimbursement

for expenses incurred, as well as mandatory statutory trebling of all wage-related damages and

attorneys’ fees under Mass. Gen. Laws ch. 149 § 150. Plaintiff also seeks injunctive relief.

Plaintiff states that “members of the class are so numerous that joinder of all members of the

Class is impracticable.” Complaint ¶ 52. Due to the size of the putative class Plaintiff purports

to represent, the relief sought and potentially to be recovered, and the attorneys’ fees likely to be

generated in a class action of this magnitude, there is more than a reasonable probability that the

amount in controversy exceeds $75,000.00 per individual claimant and $5,000,000.00 for the

putative class.

       8.         Because the requirements for diversity jurisdiction are satisfied, this Court has

jurisdiction over all claims and parties pursuant to 28 U.S.C. § 1332(a). The Complaint is

properly removed pursuant to 28 U.S.C. §§ 1441 and 1446.

       9.         This Notice of Removal is being filed in the District of Massachusetts, the District

Court of the United States for the district and division within which the Superior Court Action is

pending. 28 U.S.C. §§ 1441(a) and 1446(a).

       10.        Attached hereto as Exhibit B is a copy of the Notice to Middlesex County
Superior Court of Filing of Notice of Removal, the original of which is being filed with the

Middlesex County Superior Court. 28 U.S.C. § 1446(d).




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       WHEREFORE, Defendants respectfully request that this Action be removed and

hereinafter proceed in the United States District Court for the District of Massachusetts.

                                              Respectfully submitted,

                                              BEAVEX INCORPORATED and MARK
                                              TUCHMANN,
                                              By their attorneys,

                                              /s/ Christopher B. Kaczmarek
                                              Christopher B. Kaczmarek (No. 647085)
                                              Littler Mendelson, P.C.
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Dated: December 17, 2010                      ckaczmarek@littler.com




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 17th day of December, 2010, a true and accurate copy of this
document, filed through the ECF system, will be sent electronically to the registered participants
as identified on the Notice of Electronic Filing, and sent via first class mail to unregistered
participants.

                                                     /s/ Christopher B. Kaczmarek
                                                     Christopher B. Kaczmarek

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